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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                             *
UNITED STATES OF AMERICA                     *
                                             *
                                             *
v.                                           *      Case No.: RWT 04cr235
                                             *
                                             *
LAVON DOBIE                                  *
                                             *


                                            ORDER

       On November 22, 2011, Defendant filed a Motion for Retroactive Application of

Sentencing Guidelines to Crack Cocaine Offense under 18 U.S.C. § 3582 [ECF No. 1476]. On

May 24, 2012, Defendant filed a Motion to Hold in Abeyance Right to File a Motion under

18 U.S.C. § 2255 Pending Resentencing [ECF No. 1515]. On May 31, 2012, Defendant filed a

Motion for Filing of Depierre Claim to be Held in Abeyance [ECF No. 1519]. Despite the

considerable amount of time that has passed, the government has yet to file a response to any of

Defendant’s motions.

       On November 2, 2011, the Fourth Circuit vacated Defendant’s sentence and remanded

the case to this Court for resentencing [ECF No. 1475-1]. A resentencing hearing and hearing on

all pending motions is scheduled for October 29, 2012 at 3:30 p.m. Accordingly, it is this 17th

day of October 2012, by the United States District Court for the District of Maryland,

       ORDERED, that the government is DIRECTED TO FILE a memorandum in response

to Defendant’s Motion for Retroactive Application of Sentencing Guidelines to Crack Cocaine

Offense under 18 U.S.C. § 3582 [ECF No. 1476], Motion to Hold in Abeyance Right to File a

Motion under 18 U.S.C. § 2255 Pending Resentencing [ECF No. 1515], and Motion for Filing of
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Depierre Claim to be Held in Abeyance [ECF No. 1519], together with any memorandum

relating to the resentencing of the Defendant, by close of business on October 24, 2012; and it

is further

        ORDERED, that Defendant is DIRECTED TO FILE any sentencing memoranda

setting forth her position on her resentencing by close of business on October 24, 2012.



                                                                    /s/
                                                             ROGER W. TITUS
                                                      UNITED STATES DISTRICT JUDGE




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